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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 JOEL VANGHELUWE and JEROME
 VANGHELUWE,
                                             Case No. 18-10542
       Plaintiffs,
                                             Honorable Laurie J. Michelson
 v.                                          Magistrate Judge Elizabeth A.
                                             Stafford
 GOT NEWS, L.L.C., et al.,

       Defendants.


         ORDER OF DETERMINATION REGARDING MOTION


      Before the Court is Defendant Kenneth Strawn’s motion to dismiss, filed

January 10, 2019. The response brief and any reply brief shall be filed in compliance

with E.D. Mich. LR 7.1.

      If the total brief (including exhibits) exceeds 20 pages, a courtesy copy of the

motion, brief, response, or reply, with tabbed and highlighted exhibits, shall be

mailed or hand delivered to United States District Judge Laurie J. Michelson at 231

W. Lafayette, Room 737, Detroit, MI 48226. Courtesy copies should conform to

Judge Michelson’s case-management requirements that were docketed earlier in the

case (usually as part of the scheduling order).

      If, upon review of all the briefing, the Court finds that oral argument would

aid in resolving the disputed issues, a notice will be filed on the docket setting a
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hearing. Otherwise, the Court will decide the motion on the briefs. See Fed. R. Civ.

P. 78(b); E.D. Mich. LR 7.1(f).

       SO ORDERED.

                                              s/Laurie J. Michelson
                                              LAURIE J. MICHELSON
                                              UNITED STATES DISTRICT JUDGE


Date: January 25, 2019




                                      CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was served upon counsel of record
and/or pro se parties on this date, January 25, 2019, using the Electronic Court Filing system and/or
first-class U.S. mail.


                                              s/William Barkholz
                                              Case Manager




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